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                                               U.S. Department of Justice
                                               Civil Division, Appellate Staff
                                               950 Pennsylvania Ave. NW, Rm. 7215
                                               Washington, DC 20530

                                                                       Tel: 202-514-1838


VIA CM/ECF

                                               July 13, 2016

Ms. Molly C. Dwyer
Clerk, United States Court of Appeals
 for the Ninth Circuit
95 Seventh St
San Francisco, CA 94103

RE:          Fazaga v. Federal Bureau of Investigation,
             Nos. 12-56867, 12-56874, 13-55017 (9th Cir.)
             Argued December 7, 2015

Dear Ms. Dwyer:

      Pursuant to Federal Rule of Appellate Procedure 28(j), we are writing
regarding the Supreme Court’s recent decision in Simmons v. Himmelreich, 136 S.
Ct. 1843 (2016). The Court’s decision in Simmons related to the judgment bar
provision of the Federal Tort Claims Act (FTCA), 28 U.S.C. § 2676, which
provides that a judgment in an FTCA action constitutes a complete bar to actions
against individual government employees that are based on the same conduct. In
Simmons, the Court held that the judgment bar does not apply when a tort claim
against the United States was dismissed based on one of the exceptions to the
FTCA, 28 U.S.C. § 2680.

        The Supreme Court’s decision in Simmons does not affect the proper
disposition of plaintiffs’ claims in this case against the United States, its agencies,
or its officers in their official capacities. It is relevant only to whether claims
against the individual-capacity defendants must be dismissed if this Court affirms
the district court’s dismissal of tort claims against the United States. See Gov’t
Superseding Br. 40-42.
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                                     Sincerely,

                                     s/ Daniel Tenny
                                     Daniel Tenny

cc (by CM/ECF): All counsel of record




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